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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

UNITED STATES OF AMERICA,             )
                                      )
      Plaintiff,                      )
                                      )
      v.                              )     Case No. 4:08CR566 CDP
                                      )
AARON WILLIAMS,                       )
                                      )
      Defendant.                      )

                        MEMORANDUM AND ORDER

      This matter is before the Court on defendant Aaron Williams’ pretrial

motions. Pursuant to 28 U.S.C. § 636(b), the motions were referred to United

States Magistrate Judge Thomas C. Mummert. Judge Mummert held a hearing on

January 26, 2009, and thereafter filed his Report and Recommendation regarding

the defendant's motions. Defendant Williams has filed objections to Judge

Mummert’s recommended rulings.

      I have considered the motions de novo, including listening to the recording

of the hearing before Judge Mummert (even though no evidence was adduced),

reviewing fully the parties’ arguments, and reviewing the law. I will overrule

defendant’s objections except on one point. I believe that under Supreme Court

precedent, Williams does have standing to challenge the stop and subsequent

search of the vehicle in which he was a passenger, and so I will hear evidence on
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the motion to suppress. Otherwise, I will adopt and sustain the thorough

reasoning of Magistrate Judge Mummert set forth in support of his recommended

rulings issued on January 30, 2009.

       Williams argues that Judge Mummert erred in ruling that he did not have

standing to seek to suppress money that was seized from a bag in a car in which he

was the passenger. I agree that under Brendlin v. California, 551 U.S. 249 (2007),

Williams, as the passenger in the car, was seized, and therefore has authority to

challenge the legality of the automobile stop. If the stop was unlawful, the money

found in the bag would have to be suppressed. I do not believe that Williams has

to assert that it was his bag to challenge the initial stop of the vehicle. This is a

different situation than arose in the Eighth Circuit cases cited by the magistrate

judge, in which defendants attempted to challenge seizures made from other

people. Unlike things found directly on a person, as in those cases, the bag here

was apparently in the automobile, and thus could have been in the possession of

either or both occupants of the vehicle. I will therefore not adopt this portion of

Judge Mummert’s Report and Recommendation, and instead will hear evidence on

this motion at the final pretrial hearing in this case.1


       1
         The government set out its version of the facts of the stop in its brief opposing the motion,
and if those facts are proven at the hearing, the motion to suppress will be denied. But defendant
argued that he had some reason to challenge the government’s assertion that law enforcement

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       Certain of Williams’ motions are moot. He sought to suppress pretrial

statements, but none were made. He sought severance and a separate trial, but

because all co-defendants have either pleaded guilty or indicated their intention to

do so, there is nothing to sever, and he will be the only defendant tried in this case.

The other rulings entered by Judge Mummert are entirely correct, and require no

further discussion.

       Accordingly,

       IT IS HEREBY ORDERED that the Report and Recommendation of the

United States Magistrate Judge [#97] is sustained in part.

       IT IS FURTHER ORDERED that defendant’s motion to sever [#72] is

denied as moot, and his motions for early production of Jencks Act materials [#70]

and for a bill of particulars [#75] are denied.

       IT IS FURTHER ORDERED that the Court will conduct a final pretrial

conference and a hearing on remaining motions (including any evidence to be

presented on the motion to suppress) in this matter on Friday, April 24, 2009 at

1:00 p.m. Defendant’s presence is required at this hearing.

       IT IS FURTHER ORDERED that the Court will conduct a telephone

conference with counsel only (defendant’s participation is not required) on


officers had probable cause to stop the vehicle, and so an evidentiary hearing is necessary.

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Thursday, April 2, 2009 at 11:00 a.m. to discuss scheduling issues related to the

trial. The Court will place the call, and if counsel are not expected to be available

at his or their normal telephone numbers, they should notify my office promptly of

the numbers where they can be reached.



                                       ____________________________
                                       CATHERINE D. PERRY
                                       UNITED STATES DISTRICT JUDGE

Dated this 31st day of March, 2009.




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